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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW HAMPSHIRE

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
In re:                                                             :   Chapter 11
                                                                   :
GT Advanced Technologies, Inc., et al.,                            :   Case No. 14-11916 (HJB)
                                                                   :
                               Debtors.1                           :   Jointly Administered
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

    AMENDED VERIFIED STATEMENT OF THE AD HOC COMMITTEE OF EQUITY
         SECURITY HOLDERS PURSUANT TO BANKRUPTCY RULE 2019

          1.        Peter B. McGlynn, attorney for the the Ad Hoc Committee of Equity Interest

Holders (the “Ad Hoc Committee”), files this amended verified statement (the “Amended

Verified Statement”) pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and in support thereof states as follows:

          2.        On April 1, 2015, the Ad Hoc Committee filed the Verified Statement of the Ad

Hoc Committee of Equity Security Holders Pursuant to Bankruptcy Rule 2019 [Docket No.

1561].

          3.        The Ad Hoc Committee initially consisted of the following three members: (i)

Nathan Cottrell; (ii) Michael Willingham; (iii) The Honorable Douglas Southard. The Ad Hoc

Committee recently added ACATIS Investment GmbH to the Ad Hoc Committee and,

accordingly, is filing this amendment to the previously filed disclosure.




1
  The Debtors, along with the last four digits of each debtor’s tax identification number, as applicable, are: GT
Advanced Technologies Inc. (6749), GTAT Corporation (1760), GT Advanced Equipment Holding LLC (8329), GT
Equipment Holdings, Inc. (0040), Lindbergh Acquisition Corp. (5073), GT Sapphire Systems Holding LLC (4417),
GT Advanced Cz LLC (9815), GT Sapphire Systems Group LLC (5126), and GT Advanced Technologies Limited
(1721). The Debtors’ corporate headquarters are located at 243 Daniel Webster Highway, Merrimack, NH 03054.



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         4.         Attached hereto as Exhibit A is a revised list of the names, addresses, and the

nature and amount of all disclosable economic interests in the Debtors held by each Ad Hoc

Committee member.

         5.         The Ad Hoc Committee has formally retained as its attorneys, and consents to be

represented by, Bernkopf Goodman LLP and Polsinelli PC.

         6.         None of the attorneys representing the Ad Hoc Committee have any disclosable

economic interests in the Debtors as defined in Bankruptcy Rule 2019.

         7.         Nothing contained in this Amended Verified Statement (or Exhibit A) should be

construed as a limitation upon, or waiver of, any Ad Hoc Committee member’s rights to assert,

file, or amend its claims in accordance with applicable law and any orders entered in these cases

establishing procedures for filing proofs of claim.

         8.         The Ad Hoc Committee reserves the right to amend or further supplement this

Amended Verified Statement in accordance with the requirements set forth in Bankruptcy Rule

2019.

         8.         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: September 2, 2015                               Respectfully submitted,
                                                       AD HOC COMMITTEE OF EQUITY
                                                       SECURITY HOLDERS
                                                       By its attorneys

                                                       /s/ Peter B. McGlynn
                                                       Peter B. McGlynn (admitted pro hac vice)
                                                       Jason A. Manekas (NH Bar No. 11320)
                                                       BERNKOPF GOODMAN LLP
                                                       2 Seaport Lane, 9th Floor
                                                       Boston, Massachusetts 02210
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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW HAMPSHIRE


In re:                                                   Chapter 11

GT Advanced Technologies Inc., et al.,                   Case No. 14-11916-HJB

         Debtors. 1                                      (Jointly Administered)


                                     CERTIFICATE OF SERVICE

         I, Peter B. McGlynn, hereby certify that on this 2nd day of September, 2015, I caused to

be served a copy of the Amended Verified Statement of the Ad Hoc Committee of Equity Security

Holders Pursuant to Bankruptcy Rule 2019 upon all interested parties via the CM/ECF noticing

system and pursuant to the Master Service List dated August 17, 2015 attached hereto as Exhibit

1 at the listed e-mail address and to the following via first class mail, postage pre-paid:

GE Capital Information Technology                       Debtors
Solutions, Inc.                                         GT Advanced Technologies Inc.
 f/d/b/a Ikon Financial Services                        Attn: General Counsel
Attn: Christine E. Etheridge, Bankruptcy                243 Daniel Webster Highway
Administrator                                           Merrimack, NH 03054
1738 Bass Road
Macon, GA 31208-3708




1
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IRS                                             Attorneys for Hangzhou Dahe
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                                                Manchester, NH 03104

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Counsel for Public Service Company              State of New Hampshire
 of New Hampshire                               Office of the Attorney General
Public Service Company of New Hampshire         33 Capitol Street
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Manchester, NH 03105-2459

Interested Party                                Clerk of the Bankruptcy Court
Wrisley Abrasives LLC                           1000 Elm Street - Suite 1001
6 Wilcox Street                                 Manchester, NH 03101-1708
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Simsbury, CT 06070

Robert E. Winter, Esquire                       James S. Carr, Esquire
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Attorney for Douglas Kurz,                      Jordan D. Hershman, Esquire
Vance K. Opperman, Palisade Strategic           Morgan, Lewis & Bockius LLP
Master Fund (Cayman) Limited, and               One Federal Street
Highmark Limited                                Boston, MA 02110
Eleanor Dahar, Esquire
Victor W. Dahar, P.A.
20 Merrimack Street
Manchester, NH 03101


       Signed under the pains and penalties of perjury this 2nd day of September, 2015.


                                                                 /s/ Peter B. McGlynn
                                                                 Peter B. McGlynn, Esquire
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                                 EXHIBIT 1
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